                                                Entered on Docket
                                                May 18, 2023
                                                EDWARD J. EMMONS, CLERK
                                                U.S. BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF CALIFORNIA


     VINOD NICHANI|SBN 277607
   1
     NICHANI LAW FIRM                   The following constitutes the order of the Court.
   2 111 North Market Street, Suite 300 Signed: May 18, 2023
     San Jose, California 95113
   3 Phone: 408-800-6174
   4 Fax: 408-290-9802
     Email: vinod@nichanilawfirm.com
   5
     Counsel to Debtor/Defendant           ______________________________________________
   6 RENE M. DUENAS aka                    Stephen L. Johnson
     RENE MIGUEL DUENAS                    U.S. Bankruptcy Judge
   7
                              UNITED STATES BANKRUPTCY COURT
   8
                  NORTHERN DISTRICT OF CALIFORNIA – SAN JOSE DIVISION
   9
                                                   Case No.: 22-51136
  10 In re:
  11                                               Adversary Proceeding No.: 23-05012
      RENE M. DUENAS aka
  12 RENE MIGUEL DUENAS,                           Chapter 7
  13                                                     ORDER CONTINUING SCHEDULING
                              Debtor.
                                                         CONFERENCE
  14
                                                         Current Hearing Date:
  15
        Amy T. Nguyen-Chyung                             Date:      June 22, 2023
  16    and Abraham Chyung, individually and as          Time:      1:30 p.m
        co-trustees of THE CHYUNG FAMILY                 Location: Via video/teleconference
  17    LIVING TRUST, U/A DATED JULY 7,                             Courtroom 9
  18    2008,
                                                                    Hon. Stephen L. Johnson
  19                          Plaintiffs,                Proposed Continued Hearing Date:
  20                                                     Date:      July 13, 2023
               v.                                        Time:      1:30 p.m
  21                                                     Location: Via video/teleconference
        RENE M. DUENAS,
  22                                                                Courtroom 9
                              Defendant.                            Hon. Stephen L. Johnson
  23
  24
  25          The Court has read and considered the Stipulation to Continue Scheduling Conference
  26
       (“Stipulation”) filed on May 11, 2023 (Doc. 11) and presented by all Parties to the above-
  27
       captioned Adversary Proceeding.
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              Good cause appearing, it is HEREBY ORDERED that the Scheduling Conference
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   2 scheduled for June 22, 2023 is continued to July 13, 2023. Such dates that flow from the
   3 Scheduling Conference pursuant to the Order Re Initial Disclosures and Discovery Conference
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       are also continued.
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   7                                     ***END OF ORDER***

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                                         COURT SERVICE LIST
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  10 None.
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